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                        IN THE UNITED STATES DISTRICT COURT
                           NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

SECURITIES AND EXCHANGE                           )
COMMISSION,                                       )
                                                  )       Case No. 19-cv-6473
                         Plaintiff,               )
                                                  )       Judge Sharon Johnson Coleman
                v.                                )
                                                  )
SBB RESEARCH GROUP, LLC,                          )
SAMUEL B. BARNETT, and                            )
MATTHEW LAWRENCE AVEN                             )
                                                  )
                         Defendants.              )

                           MEMORANDUM OPINION AND ORDER

        Before the Court is the Securities and Exchange Commission’s Motion for Reconsideration

of the Court’s November 26, 2024 Order excluding testimony of Peter Hickey (the “Motion”). For

the foregoing reasons, the Court denies the motion to reconsider [242].

BACKGROUND

        As it relates to this Motion, the Court held oral arguments on the parties Daubert motions on

October 1, 2024. The Court issued its ruling on November 26, 2024. The Order granted Defendant

SBB Research Group, LLC’s (“SBB”) motion to exclude expert opinions and testimony of Peter

Hickey (“Hickey”). The SEC filed its motion to reconsider on December 20, 2024, which is now

before the Court.

LEGAL STANDARD

         It is well-established that in determining whether to grant a motion to reconsider, the Court

retains sound discretion. Caisse v. Natioanle de Credit v. CBI Industries, Inc., 90 F.3d 1264, 1270 (7th Cir.

1996). “Motions to reconsider are not at the disposal of parties who want to ‘rehash’ old arguments,

and such motions are not the appropriate vehicles for tendering new legal theories for the first time.”

In re Oil Spill by the “Amoco Cadiz,” 794 F. Supp. 261, 267 (N.D. Ill. 1992), aff’d, 4 F.3d 997 (7th Cir.
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1993). A motion to reconsider serves a limited function and should only be presented when there has

been a significant change in law or facts after the issue is presented to the Court, or the Court has

“patently misunderstood a party,” has “made a decision outside the adversarial issues presented” to it

or has “made an error not of reasoning but of apprehension.” Bank of Waunakee v. Rochester Cheese

Sales, Inc., 906 F.2d 1185, 1191 (7th Cir. 1990). “Such problems rarely arise and the motions to

reconsider should be equally rare.” Bank of Waunakee, 906 F.2d at 1191 (internal quotations omitted).

DISCUSSION

        While the parties’ briefing seems to be an effort to rehash Daubert arguments, it is the Court’s

understanding that the SEC’s motion to reconsider is based on its contention that the Court

erroneously applied Daubert’s relevance standard and the FRE 403 prejudice standard in excluding

Hickey’s ASC § 820 testimony.

        In reviewing the Court’s November 26th order, the Court employed the Daubert relevance

standard and the FRE 403 prejudice standard in its ruling barring Hickey’s testimony on SBB’s

valuation model only. The Court relied on other standards and legal principles in barring Hickey’s

other testimony concerning ASC § 820. In other words, there were other factors the Court took into

consideration when barring Hickey’s ASC § 820 testimony generally that the SEC does not appear to

contest in its motion for reconsideration.

        As to the present motion, the SEC has offered nothing to show the Court erroneously applied

the Daubert relevance standard and FRE 403 prejudice standard in barring Hickey’s testimony about

SBB’s valuation model. While the SEC argues that the Court improperly sua sponte ruled that Hickey’s

valuation testimony was barred under the Daubert relevance standard and the FRE 403 prejudicial

standard, courts in this district have routinely rejected motions to reconsider when the Court’s decision

is based on the issue and facts presented by the parties, even if the legal reasoning employed is

somewhat different. See Fox v. Admiral Ins. Co. No. 12-cv-8740, 2016 WL 3520145, at *2 (N.D. Ill.


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June 28, 2016) (Shah, J.) There are no facts presented to demonstrate that the Court’s decision was

not based on the issues and facts presented by the parties. Indeed, at oral arguments, the Court

questioned SEC’s attorney regarding the propriety of offering Hickey as an expert when considering

his narrowed experience. See Oct. 1, 2024 Tr. at 120:25 – 123:14.

       Not only did the Court employ a plethora of other, non-contested, bases for excluding

Hickey’s ASC § 820 testimony as it relates to SBB’s Funds’ financial statements and materiality, but

the Court was within its purview in barring Hickey’s valuation testimony pursuant to the Daubert

relevance standard and FRE 403 prejudicial standard because the decision was well within the issues

presented by the parties. See Fox, 2016 WL 3520145, at *2.

CONCLUSION

       For the reasons stated above, the SEC’s motion to reconsider is denied [242].

IT IS SO ORDERED.

Date: 4/8/2025                                               Entered:




                                                             _____________________________
                                                             SHARON JOHNSON COLEMAN
                                                             United States District Judge




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